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 Fill in this information to identify the case:

 Debtor 1              Valinda Ward
                       __________________________________________________________________

 Debtor 2               aka  Valinda Kay Ward
                        ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Southern     District
                                                  District     of __________
                                                           of Texas

 Case number            15-30049
                        ___________________________________________




Official Form 410S1
N ot ic e of M ort ga ge Pa ym e nt Cha nge                                                                                                   12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   SRP 2013-1 LLC
 Name of creditor: _______________________________________                                                        9
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           9 ____
                                                         ____ 8 ____
                                                                  9 ____
                                                                      1              Must be at least 21 days after date       10/01/2018
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                                586.62
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Pa rt 1 :       Esc row Ac c ount Pa ym e nt Adjust m e nt

 1.   Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                       New escrow payment:         $ _______________


 Pa rt 2 :       M ort ga ge Pa ym e nt Adjust m e nt


 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate: 12.625_______________%                   New interest rate: 13.125 _______________%

                                                                    535.74
                   Current principal and interest payment: $ _______________                                                     551.43
                                                                                   New principal and interest payment: $ _______________


 Pa rt 3 :       Ot he r Pa ym e nt Cha nge

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                           page 1
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                   Valinda Ward

Debtor 1          _______________________________________________________                                           15-30049
                                                                                                 Case number (if known) _____________________________________
                  First Name      Middle Name               Last Name




 Pa rt 4 :       Sign H e re


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.

           I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û/s/ Angela Kristen Viale
     _____________________________________________________________
     Signature
                                                                                                 Date    09/04/2018
                                                                                                         ___________________




 Print:              Angela                Kristen          Viale
                     _________________________________________________________                   Title   Bankruptcy   Asset Manager
                                                                                                         ___________________________
                     First Name                      Middle Name          Last Name



 Company             SN Servicing Corporation
                     _________________________________________________________



 Address             323 5th Street
                     _________________________________________________________
                     Number                 Street

                     Eureka                           CA      95501
                     ___________________________________________________
                     City                                                 State       ZIP Code



 Contact phone       800-603-0836
                     ________________________                                                           bknotices@snsc.com
                                                                                                 Email ________________________




Official Form 410S1                                                     Notice of Mortgage Payment Change                                           page 2
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 1   Kristin Zilberstein, Esq. (SBN: 200041)
     Jennifer Bergh, Esq. (SBN: 305219)
 2   Michelle R. Ghidotti-Gonsalves, Esq. (SBN 232837)
 3   LAW OFFICES OF MICHELLE GHIDOTTI
     1920 Old Tustin Ave.
 4   Santa Ana, CA 92705
     Ph: (949) 427-2010
 5   Fax: (949) 427-2732
 6   kzilberstein@ghidottilaw.com

 7   Authorized Agent for Creditor
     SRP 2013-1 LLC
 8
 9
                               UNITED STATES BANKRUPTCY COURT
10
                      SOUTHERN DISTRICT OF TEXAS – HOUSTON DIVISION
11
12   In Re:                                               )   CASE NO.: 15-30049
                                                          )
13
     Valinda Ward,                                        )   CHAPTER 13
14                                                        )
              Debtors.                                    )   CERTIFICATE OF SERVICE
15                                                        )
                                                          )
16
                                                          )
17                                                        )
                                                          )
18                                                        )
19                                                        )
                                                          )
20
21                                    CERTIFICATE OF SERVICE
22
23            I am employed in the County of Orange, State of California. I am over the age of

24   eighteen and not a party to the within action. My business address is: 1920 Old Tustin
25   Avenue, Santa Ana, CA 92705.
26
              I am readily familiar with the business’s practice for collection and processing of
27
     correspondence for mailing with the United States Postal Service; such correspondence would
28




                                                      1
                                       CERTIFICATE OF SERVICE
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 1   be deposited with the United States Postal Service the same day of deposit in the ordinary
 2   course of business.
 3
     On September 4, 2018 I served the following documents described as:
 4
                   NOTICE OF MORTGAGE PAYMENT CHANGE
 5
 6   on the interested parties in this action by placing a true and correct copy thereof in a sealed

 7   envelope addressed as follows:
 8
     (Via United States Mail)
 9   Debtor                                              Debtor’s Counsel
     Valinda Ward                                        Reese W Baker
10   27106 Seahorse Lane                                 Baker & Associates
11   Magnolia, TX 77355                                  950 Echo Lane
                                                         Suite 200
12                                                       Houston, TX 77024
     Trustee
13   William E. Heitkamp                                 U.S. Trustee
14   Office of Chapter 13 Trustee                        Office of the US Trustee
     9821 Katy Freeway                                   515 Rusk Ave
15   Ste 590                                             Ste 3516
     Houston, TX 77024                                   Houston, TX 77002
16
17
     _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
18   the United States Postal Service by placing them for collection and mailing on that date
     following ordinary business practices.
19
20   ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
     Eastern District of California
21
     __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
22
     America that the foregoing is true and correct.
23
            Executed on September 4, 2018 at Santa Ana, California
24
     /s / Lauren Simonton
25
     Lauren Simonton
26
27
28




                                                     2
                                      CERTIFICATE OF SERVICE
